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                          UNITED STATES BANKRUPTCY COURT
                          FOR EASTERN DISTRICT OF KENTUCKY
                                    AT LEXINGTON

                                    ELECTRONICALLY FILED


In re:                                                                           Case No. 20-51079
Tew Limited Partnership                                                                 Chapter 11
Debtor.


             DECLARATION OF DUSTIN P. SMITH IN SUPPORT OF
       SKATTEFORVALTNINGEN’S OBJECTION TO THE DEBTOR’S PLAN OF
                          REORGANIZATION

        Pursuant to 28 U.S.C. § 1746, I, Dustin P. Smith, declares as follows:

        1.     I am a partner with the law firm Hughes Hubbard & Reed LLP, attorneys for

creditor Skatteforvaltningen (“SKAT”). I am admitted to practice law in the State of New York

and admitted pro hac vice before this Court. I submit this declaration in support of SKAT’s

Objection to the Debtor’s Plan of Reorganization. I base this declaration on my personal

knowledge and a review of the documents referenced herein.

        2.     Attached hereto as Exhibit 1 is a true and correct copy of the transcript of the 341

Meeting of the Creditors held on August 26, 2020 in In re Bernard and Andrea Tew, case

number 20-51078-tnw in the Bankruptcy Court for the Eastern District of Kentucky.

        3.     Attached hereto as Exhibit 2 is a true and correct copy of the Consent Judgment

and Order Re: Bernard V. Tew, Tew Enterprises, LLC, and Bluegrass Investment Management,

LLC entered on July 8, 2015 in Solis v. Hofmeister et al., case number 5:12-cv-00250, in the

Eastern District of Kentucky.

        I declare under penalty of perjury that the foregoing is true and correct.




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Executed on November 23, 2020               HUGHES HUBBARD & REED LLP
New York, New York
                                            /s/ Dustin P. Smith
                                            Dustin P. Smith (admitted pro hac vice)
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                                            New York, New York 10004-1482
                                            (212) 837-6000 (t)
                                            (212) 422-4726 (f)
                                            Dustin.Smith@hugheshubbard.com

                                            Counsel for Creditor Skatteforvaltningen
                                            (Customs and Tax Administration of the
                                            Kingdom of Denmark)




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                               CERTIFICATE OF SERVICE

        In addition to the parties who will be served electronically by the Court’s ECF System,

the undersigned certifies that a true and accurate copy of the foregoing was served by electronic

mail or first-class U.S. mail, postage prepaid, on November 23, 2020, on all non-ECF creditors.


                                                    /s/ Dustin P. Smith
                                                    COUNSEL FOR CREDITOR, SKAT




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